                    IN THE UNITED STATES BANKRUPTCY COURT
                       FOR THE NORTHERN DISTRICT OF OHIO
                                EASTERN DIVISION

In re: Paul R. Jones, Jr.                   )         Case No. 17-17369
       Jennifer K. Jones                    )         Chapter 13 Proceedings
                                            )
       Debtors.                             )         Judge Jessica E. Price Smith

                  CHAPTER 13 TRUSTEE’S OBJECTION TO DEBTORS’
                        FIRST MOTION TO MODIFY PLAN

       Now comes LAUREN A. HELBLING, the duly appointed and qualified Standing
Chapter 13 Trustee (“Trustee”) herein, by and through counsel, and hereby objects to the
Debtors’ First Motion to Modify Plan filed with the Court on March 6, 2018 (hereinafter
“Debtors’ Motion”).       In support of her objection, the Trustee makes the following
representations to the Court:

       1.     The Trustee’s Objection to Confirmation filed with the Court on March 6, 2018
has not been resolved. Specifically, the following paragraphs are not resolved: 1) Prosecution:
Debtors need to provide October 2017 credit union statement and all savings statements for one
savings account; and 2) Disposable Income.

      2.     The Debtors’ proposed plan does not comply with Section 1322(d) of the
Bankruptcy Code as the plan will complete in over 60 months.

       3.      Part 5.1 of Debtors’ proposed plan the equity portion should not be completed.

      WHEREFORE your Trustee, being a proper party in interest, hereby moves this
Honorable Court to deny the Debtors’ Motion for the reasons cited.

                                                Respectfully submitted,


                                                 /S/ Holly Davala
                                                 HOLLY DAVALA (#0070447)
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17-17369-jps      Doc 37    FILED 03/12/18        ENTERED 03/12/18 14:59:31          Page 1 of 2
                                CERTIFICATE OF SERVICE

I certify that on March 12, 2018, a true and correct copy of Trustee’s Objection was served:

Via the Court’s Electronic Case Filing System on these entities and individuals who are listed on
the Court’s Electronic Mail Notice List:

       William J. Balena, Attorney, on behalf of Debtors, at docket@ohbksource.com

And by regular U.S. mail, postage prepaid, on:

       Paul R. Jones, Jr., Debtor and Jennifer K. Jones, Debtor at 775 North Main Street,
             Grafton, OH 44044



                                              /S/ Holly Davala
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HD/alh
3/12/18




17-17369-jps     Doc 37     FILED 03/12/18       ENTERED 03/12/18 14:59:31            Page 2 of 2
